Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 1 of 119 Page
                                 ID #:8250
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 2 of 119 Page
                                 ID #:8251
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 3 of 119 Page
                                 ID #:8252
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 4 of 119 Page
                                 ID #:8253
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 5 of 119 Page
                                 ID #:8254
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 6 of 119 Page
                                 ID #:8255
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 7 of 119 Page
                                 ID #:8256
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 8 of 119 Page
                                 ID #:8257
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 9 of 119 Page
                                 ID #:8258
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 10 of 119 Page
                                  ID #:8259
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 11 of 119 Page
                                  ID #:8260
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 12 of 119 Page
                                  ID #:8261
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 13 of 119 Page
                                  ID #:8262
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 14 of 119 Page
                                  ID #:8263
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 15 of 119 Page
                                  ID #:8264
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 16 of 119 Page
                                  ID #:8265
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 17 of 119 Page
                                  ID #:8266
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 18 of 119 Page
                                  ID #:8267
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 19 of 119 Page
                                  ID #:8268
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 20 of 119 Page
                                  ID #:8269
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 21 of 119 Page
                                  ID #:8270
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 22 of 119 Page
                                  ID #:8271
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 23 of 119 Page
                                  ID #:8272
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 24 of 119 Page
                                  ID #:8273
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 25 of 119 Page
                                  ID #:8274
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 26 of 119 Page
                                  ID #:8275
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 27 of 119 Page
                                  ID #:8276
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 28 of 119 Page
                                  ID #:8277
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 29 of 119 Page
                                  ID #:8278
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 30 of 119 Page
                                  ID #:8279
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 31 of 119 Page
                                  ID #:8280
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 32 of 119 Page
                                  ID #:8281
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 33 of 119 Page
                                  ID #:8282
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 34 of 119 Page
                                  ID #:8283
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 35 of 119 Page
                                  ID #:8284
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 36 of 119 Page
                                  ID #:8285
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 37 of 119 Page
                                  ID #:8286
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 38 of 119 Page
                                  ID #:8287
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 39 of 119 Page
                                  ID #:8288
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 40 of 119 Page
                                  ID #:8289
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 41 of 119 Page
                                  ID #:8290
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 42 of 119 Page
                                  ID #:8291
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 43 of 119 Page
                                  ID #:8292
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 44 of 119 Page
                                  ID #:8293
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 45 of 119 Page
                                  ID #:8294
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 46 of 119 Page
                                  ID #:8295
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 47 of 119 Page
                                  ID #:8296
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 48 of 119 Page
                                  ID #:8297
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 49 of 119 Page
                                  ID #:8298
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 50 of 119 Page
                                  ID #:8299
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 51 of 119 Page
                                  ID #:8300
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 52 of 119 Page
                                  ID #:8301
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 53 of 119 Page
                                  ID #:8302
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 54 of 119 Page
                                  ID #:8303
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 55 of 119 Page
                                  ID #:8304
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 56 of 119 Page
                                  ID #:8305
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 57 of 119 Page
                                  ID #:8306
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 58 of 119 Page
                                  ID #:8307
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 59 of 119 Page
                                  ID #:8308
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 60 of 119 Page
                                  ID #:8309
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 61 of 119 Page
                                  ID #:8310
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 62 of 119 Page
                                  ID #:8311
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 63 of 119 Page
                                  ID #:8312
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 64 of 119 Page
                                  ID #:8313
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 65 of 119 Page
                                  ID #:8314
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 66 of 119 Page
                                  ID #:8315
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 67 of 119 Page
                                  ID #:8316
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 68 of 119 Page
                                  ID #:8317
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 69 of 119 Page
                                  ID #:8318
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 70 of 119 Page
                                  ID #:8319
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 71 of 119 Page
                                  ID #:8320
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 72 of 119 Page
                                  ID #:8321
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 73 of 119 Page
                                  ID #:8322
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 74 of 119 Page
                                  ID #:8323
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 75 of 119 Page
                                  ID #:8324
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 76 of 119 Page
                                  ID #:8325
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 77 of 119 Page
                                  ID #:8326
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 78 of 119 Page
                                  ID #:8327
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 79 of 119 Page
                                  ID #:8328
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 80 of 119 Page
                                  ID #:8329
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 81 of 119 Page
                                  ID #:8330
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 82 of 119 Page
                                  ID #:8331
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 83 of 119 Page
                                  ID #:8332
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 84 of 119 Page
                                  ID #:8333
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 85 of 119 Page
                                  ID #:8334
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 86 of 119 Page
                                  ID #:8335
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 87 of 119 Page
                                  ID #:8336
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 88 of 119 Page
                                  ID #:8337
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 89 of 119 Page
                                  ID #:8338
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 90 of 119 Page
                                  ID #:8339
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 91 of 119 Page
                                  ID #:8340
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 92 of 119 Page
                                  ID #:8341
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 93 of 119 Page
                                  ID #:8342
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 94 of 119 Page
                                  ID #:8343
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 95 of 119 Page
                                  ID #:8344
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 96 of 119 Page
                                  ID #:8345
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 97 of 119 Page
                                  ID #:8346
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 98 of 119 Page
                                  ID #:8347
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 99 of 119 Page
                                  ID #:8348
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 100 of 119 Page
                                  ID #:8349
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 101 of 119 Page
                                  ID #:8350
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 102 of 119 Page
                                  ID #:8351
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 103 of 119 Page
                                  ID #:8352
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 104 of 119 Page
                                  ID #:8353
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 105 of 119 Page
                                  ID #:8354
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 106 of 119 Page
                                  ID #:8355
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 107 of 119 Page
                                  ID #:8356
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 108 of 119 Page
                                  ID #:8357
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 109 of 119 Page
                                  ID #:8358
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 110 of 119 Page
                                  ID #:8359
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 111 of 119 Page
                                  ID #:8360
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 112 of 119 Page
                                  ID #:8361
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 113 of 119 Page
                                  ID #:8362
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 114 of 119 Page
                                  ID #:8363
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 115 of 119 Page
                                  ID #:8364
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 116 of 119 Page
                                  ID #:8365
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 117 of 119 Page
                                  ID #:8366
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 118 of 119 Page
                                  ID #:8367
Case 2:20-cv-02291-DOC-KES   Document 330 Filed 05/29/21   Page 119 of 119 Page
                                  ID #:8368
